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                                   3                                UNITED STATES DISTRICT COURT

                                   4                               NORTHERN DISTRICT OF CALIFORNIA

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                                   6     MICHELLE CHARMAINE LAWSON,                        CASE NO. 18-cv-07238-YGR
                                   7                  Plaintiff,
                                                                                           ORDER GRANTING MOTION TO DISMISS
                                   8            vs.                                        WITH LEAVE TO AMEND

                                   9     CITY OF ARCATA, ET AL.,                           Re: Dkt. No. 13
                                  10                  Defendants.

                                  11

                                  12          On May 28, 2019, the Court heard oral argument on defendants’ motion to dismiss, which
Northern District of California
 United States District Court




                                  13   was fully briefed. (Dkt. Nos. 13, 15, 17.) As stated on the record, and confirmed herein, having

                                  14   carefully considered the briefing and arguments submitted in this matter, defendants’ motion to

                                  15   dismiss is GRANTED with leave to amend. Accordingly, and as noted on the record, plaintiff

                                  16   SHALL file her amended complaint no later than June 25, 2019, and defendants’ SHALL file their

                                  17   response thereto no later than July 16, 2019, to be heard on August 20, 2019, if necessary.

                                  18          This Order terminates Docket Number 13.

                                  19          IT IS SO ORDERED.

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                                  21   Dated: May 29, 2019
                                                                                               YVONNE GONZALEZ ROGERS
                                  22                                                      UNITED STATES DISTRICT COURT JUDGE
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